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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                         RE:   N. Allen SAWYER
                                               Docket Number: 2:02CR00468-04
                                               PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Xin Hui, China. He is current with all
supervision obligations, and he completed his term of home detention on August 24, 2006.
The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense(s) of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence imposed: 6 months custody of the Bureau of Prisons; 36 months supervised
release; $100 special assessment; $20,000 fine. Special conditions: Warrantless
search; Financial disclosure; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: June 20, 2008, with a return flight date of June 27, 2008, via
Cathay Pacific Airways in San Francisco, California.


Purpose: Releasee is to attend business meetings to correct errors that occurred in the
manufacturer of products sold to customers in the United States.


                                Respectfully Submitted,

                                /s/ Deborah A. Spencer

                               DEBORAH A. SPENCER

                                                                                                      R ev. 05/2006
                                           1            T R AVEL ~ O U T SID E C O U N T R Y C O U R T MEMO .MR G
      Case 2:02-cr-00468-MCE-CMK Document 655 Filed 06/18/08 Page 2 of 2


RE:    N. Allen SAWYER
       Docket Number: 2:02CR00468-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                    Supervising United States Probation Officer

DATED:        June 18, 2008
              Elk Grove, California
              DAS/lr



ORDER OF THE COURT:

Approved XX                                 Disapproved



 Dated: June 18, 2008


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                                      MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE




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                                        2          T R AVEL ~ O U T SID E C O U N T R Y C O U R T MEMO .MR G
